                    Case 4:21-cv-02846-HSG                                     Document 1-2                    Filed 04/20/21                 Page 1 of 2

                                   (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)




(EXCEPT IN U.S. PLAINTIFF CASES)                                                                 (IN U.S. PLAINTIFF CASES ONLY)



          (Firm Name, Address, and Telephone Number)                                                          (If Known)




                                                            One Box Only)
                                                                                        (For Diversity Cases Only)                                and One Box for Defendant)

                                                                                                                                                    or
                                     (U.S. Government Not a Party)
                                                                                                                                                    and
                                    (Indicate Citizenship of Parties in Item III)




                                                                                                                                  (specify)


                                                                                    (Do not cite jurisdictional statutes unless diversity)




             (See instructions):
Case 4:21-cv-02846-HSG   Document 1-2   Filed 04/20/21   Page 2 of 2
